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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS                           2OI   MAY -2   AM II: t1
                                 AUSTIN DIVISION


JUSTINREGEHR,                                                                                         ITb'V
                      Plaintiff,
                                                                  CAUSE NO.:
-vs-                                                            A-15-CA-00501-SS
GREYSTAR MANAGEMENT
SERVICES, L.P., GREP GENERAL
PARTNER, LLC, GREYSTAR REAL
ESTATE PARTNERS, LLC, SVF
CANTEBREA LP, and SVF
CANTEBREA CORPORATION,
                 Defendants.


                                          ORDER

       BE IT REMEMBERED on the 7th day of April, 2016, the Court held a hearing in the

above-styled cause. Before the Court are Plaintiff Justin Regehr's Motion for New Trial or to

Alter or Amend Judgment [#54], Defendants Greystar Management Services, L.P., GREP

General Partner, LLC, and Greystar Real Estate Partners, LLC (Greystar)' s Response [#55]

thereto, and Regehr's Reply [#57] in support.

       On February 8, 2016, the Court entered an order dismissing Regehr's claims against

Greystar and SVF Cantebrea Corporation and SVF Cantebrea LP (SVF).          See    Order of Feb. 8,

2016 [#50]. Following entry of the February 8, 2016 Order, Regehr filed the instant motion for

reconsideration of the same. Having reviewed the documents, the file as a whole, the arguments

at the hearing, and the governing law, the Court now enters the following opinion and orders.

                                          Background

       Regehr brought suit against Greystar and SVF for allegedly violating    §   13.503(b) of the

Texas Water Code, which prohibits an "apartment house owner" from imposing "any extra




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charges, over and above the cost per gallon and any other applicable taxes and surcharges that

are charged by the retail public utility to the owner or manager." TEX. WATER CODE         §   13.503(b).

Greystar manages the "apartment house" where Regehr lived and SVF owns it. According to

Regehr, Greystar violated     §   13.503(b) by charging him a one-time "[u]tilities" fee of $12.50. See

Compi. [#1] at 12. Greystar argues this fee was a "billing convergent fee," not a utility

connection fee as Regehr alleges. Greystar's Mot. Dismiss [#23] at 3. Greystar further argues

that even if the fee was a utility connection fee, Regehr has not shown it specifically relates to

water and not other utilities.

         At a hearing held on October 14, 2015, Greystar argued it is not subject to the Texas

Water Code because it is not an "owner" under the statute, which the Texas Water Code defines

as "the legal title holder   of an apartment house" or an entity "that purports to be the landlord of

tenants in the apartment house."        TEX.   WATER CODE     §   13.501(5). According to Greystar, a

management company is neither the legal titleholder nor the landlord of the property.

         On February 8, 2016, the Court entered an order granting Greystar's motion to dismiss,

concluding Greystar was not an "owner" under the Texas Water Code.          See   Order of Feb. 8, 2016

[#50]. The Court also dismissed Regehr's claims against SVF for failure to plead sufficient facts

showing the utility connection fee specifically related to water. In Regehr's motion for

reconsideration of the February 8, 2016 Order, Regehr asks the Court to reconsider its holding

that Greystar is not an "owner" and therefore does not fall within the purview of § 13.503(b). In

addition, Regehr asks this Court to either reconsider its decision that Regehr's allegations against

SVF failed to state a claim on the merits, or in the alternative, grant Regehr leave to amend and

plead his allegations with greater specificity. The Court addresses the merits of Regehr' s motion

below.



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                                                Analysis

I.     Legal Standard

       Pursuant to Federal Rule of Civil Procedure 59(e), Regehr moves for reconsideration of

the Court's order dismissing Regehr's claims against Greystar and SVF. Federal Rule of Civil

Procedure 59(e) gives a party twenty-eight days after entry of a judgment to file a motion asking

the court to alter or amend that judgment.    FED.   R.   Civ. P.   59(e). "Reconsideration of a judgment

after its entry is an extraordinary remedy that should be used sparingly." Templet        v.    HydroChem

Inc., 367 F.3d 473, 479 (5th Cir. 2004). "[S]uch a motion is not the proper vehicle for rehashing

evidence, legal theories, or arguments that could have been offered or raised before the entry of

judgment," but instead is intended to allow a court to correct manifest errors of law or fact, to

correct inadvertent clerical errors, or to present newly discovered evidence. Id. Indeed, the

"remedy is so extraordinary that the standard under Rule 59(e) 'favor[s] the denial of motions to

alter or amend a judgment." Sanders     v.   Bell Helicopter Textron, Inc., No. 4:04-cv-254-Y, 2005

WL 6090228, at *1 (N.D. Tex. Oct. 25, 2005) (quoting S. Constructors Grp., Inc.            v.   Dynalectric

Co., 2 F.3d 606, 611 (5th Cir. 1993)), Although the decision to grant a motion to reconsider is

within the discretion of the district court, the decision should be made in light of two "important

judicial imperatives": (1) the need to bring litigation to an end, and (2) the need to render just

decisions on the basis of all the facts. Templet, 367 F.3d at 479.

II.    Application

       In his Rule 59(e) motion, Regehr asks this Court to reconsider two holdings from the

February 8, 2016 Order: first, Greystar does not fall within the purview of § 13.503(b) because it

is not an owner or landlord; and second, Regehr's claims against SVF failed to state a claim on

the merits. As set forth below, the Court finds Regehr has pled sufficient facts demonstrating



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Greystar "purport[ed] to be the landlord of tenants." Moreover, although the Court finds

Regehr' s claims against Greystar were properly dismissed for the same reasons Regehr' s claims

against SVF were dismissed, it grants Regehr leave to plead his allegations against SVF and

Greystar with greater specificity. Therefore, Regehr' s motion for reconsideration is granted in

part and denied in part.

A.      "Owner" under the Texas Water Code

        In granting Greystar's motion to dismiss, the Court held that Greystar is not an "owner"

under the Texas Water Code. Regehr claims this ruling was a manifest error of law and therefore

asks this Court to reconsider its holding.1

        The Texas Water Code defines "owner" as:

        [T]he legal titleholder of an apartment house, manufactured home rental
        community, or multiple use facility and any individual, firm, or corporation that
        purports to be the landlord of tenants in the apartment house, manufactured home
        rental community, or multiple use facility.

TEx.   WATER CODE        §   13.501(5) (emphasis added). Regehr argues the use of the conjunction

"and" means an apartment house may have multiple owners, including the "legal titleholder of

an apartment house" and any entity that "purports to be the landlord of tenants in the apartment

house."2     He further contends the legislature broadly defined "landlord of tenants" by using the

phrase "purports to be." "Purports" means "[t]o have or present the often false appearance of


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           Regehr also argues his motion for reconsideration should be granted because he "had no opportunity to
address" the "owner" issue Greystar raised at the October 14, 2015 hearing. See Mot. Reconsider [#54] at 5.
However, this argument is hardly persuasive, because Regehr's counsel addressed the merits of the "owner" issue at
the hearing and could havebut did notrequest leave to brief the issue.
         2
          Notably, Greystar has not argued the "and" emphasized above is conjunctive, such that an "owner" must
be both the "legal titleholder" and an entity that "purports to be the landlord." See, e.g., In re Brookshire Grocery
Co., 250 S.W.3d 66, 69 (Tex. 2008) ("And' is conjunctive."); Rd. of Ins. Comm 'rs v. Guardian Life Ins. Co. of Tex.,
180 S.W.2d 906, 908 (Tex. 1944) ("Ordinarily the words 'and' and 'or,' are in no sense interchangeable terms, but,
on the contrary, are used in the structure of language for purposes entirely variant, the former being strictly of a
conjunctive, the latter, of a disjunctive, nature."). It is not this Court's responsibility to manufacture arguments in
support of a party's position. Because Greystar has not challenged Regehr's interpretation of the conjunction "and,"
the Court accepts Regehr's interpretation for purposes of this analysis.
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being or intending." Purports, THE AMERICAN HERITAGE COLLEGE DICTIONARY (4th ed. 2002).

According to Regehr, the statute covers not only legal titleholders and landlords as they are

technically defined, but also any entity that "present{s] the often false appearance of being" a

legal titleholder or landlord. Granting Greystar's motion to dismiss was in error, Regehr argues,

because whether Greystar purported to be Regehr's landlord is a fact issue which is not suitable

for disposition at the motion to dismiss stage.

       The Court is convinced that Regehr has pled sufficient facts, accepted as true, to

demonstrate that Greystar "purport[ed] to be the landlord of tenants." As Regehr recognizes in

his briefing, "[u]ndefined terms in a statute are typically given their ordinary meaning," Greater

Hous. P'ship   v.   Paxton, 468 S.W.3d 51, 58 (Tex. 2015), and a court may determine the ordinary

meaning of a term by looking at its dictionary definition. See, e.g., Learners Online, Inc.   v.   Dali.

Indep. Sch. Dist., 333 S.W.3d 636, 641 (Tex.      App.Dallas 2009,    no pet.) ("The use of legal or

other well-accepted dictionaries is a permissible method of determining the ordinary meaning of

certain words."). It is undisputed that the ordinary dictionary definition of "landlord" includes

the legal titleholder. See Mot. Reconsider [#54] at 6; see also Landlord, THE AMERICAN

HERITAGE COLLEGE DICTIONARY          (4th ed. 2002) (defining "landlord" to include "[o]ne that owns

and rents land, buildings, or dwelling units"). When read in conjunction with the phrase

"purports to be," an "owner" includes an entity that falsely holds itself out as the legal

titleholder.

        Interpreting "landlord" to include "legal titleholder" does not nullify the "purports to be"

clause, because an entity may present the false appearance of being the legal titleholder of the

property when, in fact, it is not. Here, in an addendum to Regehr' s lease, Riverstone Residential,

 Greystar' s predecessor management company, was identified as the "dwelling owner" of the



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property. Compi. [#1-1] Ex. A (Lease Addendum) at 27. Therefore, by acquiring Riverstone

Residential, Greystar "purport[ed] to be the landlord" in Regehr' s lease, and is an "owner" under

the Texas Water Code.

        In so holding, the Court is mindful that "[n]eedless decisions of state law should be

avoided both as a matter of comity and to promote justice between the parties, by procuring for

them a surer-footed reading of applicable law." United Mine Workers of Am.          v.   Gibbs, 383 U.s.

715, 726 (1966); see also Rubinstein v. Collins, 20 F.3d 160, 172 (5th Cir. 1994) ("It is

axiomatic, of course, that we will not expand state law beyond its present existing boundaries.");

Meyer   v.   Cal. & Hawaiian Sugar Co., 662 F.2d 637, 640 (9th Cir. 1981) ("Federal courts should

not reach out unnecessarily to decide state law claims."). Because the Court concludes Regehr

has pled sufficient facts demonstrating Greystar purported to be Regehr's landlord, the Court

need not decide at this time whether the term "landlord" includes the manager of an apartment

complex where the manager does not purport to be the legal titleholder. Texas courts have yet to

decide this issue, and given Regehr's concern that such a decision will affect cases presently

pending in state court, the Court declines to direct state courts in their interpretation of this term.

B.      "Utilities" Charge

        Regehr has not demonstrated the Court's dismissal of SVF in its February 8, 2016 Order

was a manifest error of law or fact, inadvertent clerical error, or should be altered in light of

newly discovered evidence. Therefore, this portion of the February 8, 2016 Order remains

undisturbed. Moreover, for the same reasons it dismissed Regehr's claims against SVFnamely,

because Regehr failed to sufficiently show the "utilities" fee specifically related to       waterthe
Court finds its dismissal of Regehr's claims against Greystar was proper. Nevertheless, the Court
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GRANTS Regehr TWENTY (20) DAYS from the date of entry of this Order to plead his

allegations against SVF and Greystar with greater specificity.

                                           Conclusion

       Accordingly,

               IT IS ORDERED that Plaintiff Justin Regehr' s Motion for New Trial or to Alter

       or Amend Judgment [#54] is GRANTED IN PART and DENIED IN PART as described

       in this opinion;

               IT IS FURTHER ORDERED that the Court's February 8, 2016 Order [#50] is

       VACATED      N PART as described in this opinion;
               IT IS FINALLY ORDERED that Plaintiff Justin Regehr shall have TWENTY

       (20) DAYS from entry of this Order to file an amended complaint against Defendants

       Greystar Management Services, L.P., GREP General Partner, LLC, Greystar Real Estate

       Partners, LLC, SVF Cantebrea Corporation, and SVF Cantebrea LP.

       SIGNED this the       g   day of April 2016.




                                                      SARt
                                                      UNITED STATES DISTRICT JUDGE




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